Case 1:20-cv-02323-PAB-SKC Document 20 Filed 01/08/21 USDC Colorado Page 1 of 3




                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO


   Civil Action No. 20-cv-02323-PAB-SKC

   RONALD J. HEALY

   Plaintiff,

   v.

   THUNDERBIRD PETROLEUM PRODUCTS, LLC,
   LANE STUM

   Defendants.


                       JOINT MOTION FOR SETTLEMENT CONFERENCE


          Plaintiff Ronald Healy, by and through counsel Gary Kramer Law, LLC and Defendants

  Thunderbird Petroleum Products, LLC and Lane Strum, by and through counsel, Treece Alfrey

  Musat PC, hereby request that a Settlement Conference be scheduled in the above captioned

  matter pursuant to D.C.COLO.LCivR 16.6. In support therefore, the undersigned state as

  follows:

          1. A Scheduling Conference was held on October 8, 2020.

          2. The parties have engaged in limited discovery. Settlement negotiations have been

                undertaken, but have been unable to resolve the matter.

          3. It is in the best interests of the parties involved to avoid further litigation proceedings

                and costs, and a settlement conference will provide the parties the best opportunity to

                settle and avoid further litigation.
Case 1:20-cv-02323-PAB-SKC Document 20 Filed 01/08/21 USDC Colorado Page 2 of 3




        4. Therefore, the parties request that the Court schedule a Settlement Conference at the

           earliest convenience of the Court, in an effort to proceed with exploration of

           settlement and resolution of this matter in good faith.

        Respectfully submitted this 8th day of January, 2021.

        s/Gary M. Kramer
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         Products, LLC and Lane Stum




                                                 2
Case 1:20-cv-02323-PAB-SKC Document 20 Filed 01/08/21 USDC Colorado Page 3 of 3




                                  CERTIFICATE OF SERVICE

          I hereby certify that on this 8th day of January, 2021, a true and correct copy of the
  foregoing REQUEST FOR SETTLEMENT CONFERENCE was filed via CM/ECF and
  electronically transmitted to the following by email:

         Gary M. Kramer
         Gary Kramer Law, LLC
         gary@garykramerlaw.com
         Attorney for Plaintiff



                                                s/ Roberta Musser
                                                Roberta Musser




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